                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

----------------------------------------------------------------x
                                                                :
RUTH SMITH, Individually and as Widow                           :
for the Use and Benefit of Herself and the                      :
Next of Kin of RICHARD SMITH, Deceased,                          :        Civil No. 3:05-0444
                                                                :         Judge Trauger
                                         Plaintiff,             :
          -against-                                             :
                                                                      :
PFIZER INC., PARKER-DAVIS,                                       :
a division of Warner-Lambert Company,                            :
and Warner-Lambert Company LLC,                                  :
WARNER-LAMBERT COMPANY,                                          :
WARNER-LAMBERT COMPANY LLC and                                    :
JOHN DOE(S) 1-10,                                                 :
                                                                      :
                                          Defendants,            :
-----------------------------------------------------------------x

                  PLAINTIFF’S EXPERT WITNESS STATEMENTS
                  AND QUALIFICATIONS FOR THE FOLLOWING:

           1. Trimble, MD, Michael, Flat 22 Belvedere House, Grosvenor Road, London
              SW1V 3JY United Kingdom;

           2. Blume, PhD, Cheryl, 13902 North Dale Mabry Highway, Tampa, FL
              33618;

           3. King III, Charles, Greylock McKinnon Associates, One Memorial Drive,
              Cambridge, Massachusetts 02142;

           4. Ron Maris, PhD; The Suicide Center, 9 Poacher’s Lane, Columbia, SC
              29223-3014;

           5. Sander Greenland, Department of Epidemiology, UCLA School of Public
              Health, Los Angeles, California 90095-1772.


    Dated: April 27, 2010




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      ASSOCIATES, P.C.

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